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                     Exhibit 49
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 Search

                                       Medical and Safety
TRANSGENDER ATHLETES & PARTICIPANTS
USA Rugby believes everyone should be not just be allowed, but encouraged to play rugby. Our sport is rooted in a
 Concussions
deep history of inclusion and the belief there is a position for everyone on the field and in our sport.
 Anti-Doping
USA Rugby strictly prohibits discrimination based on sexual orientation, gender identity and gender expression. The
 Gender Policy
SafeSport program has been set up to give participants an outlet to report these incidents and they are encouraged
to do so. Visit the USA Rugby SafeSport Page to find information on this program or to make a report.
  World Rugby Player Welfare

Acknowledging the challenge of policies being altered at the international level of the International Olympic
Committee and World Rugby, USA Rugby has taken steps to support the players, coaches, referees and
administrators who may have questions around the inclusion of athletes of all genders. Any general questions
around the policy process or our Transgender Athlete policy can contact the USA Rugby Diversity, Equity and
Inclusion Committee at diversity@usa.rugby.

CURRENT POLICY
USA Rugby currently adheres to the International Olympic Committee Transgender Policy, revised in 2015. That
policy can be found HERE.

In this spirit, the IOC Consensus Meeting agreed the following guidelines to be taken into account by sports
organizations when determining eligibility to compete in male and female competition:

     Those who transition from female to male are eligible to compete in the male category without restriction.

     Those who transition from male to female are eligible to compete in the female category under the following
     conditions:

          2.1. The athlete has declared that her gender identity is female. The declaration cannot be changed, for
          sporting purposes, for a minimum of four years.

          2.2. The athlete must demonstrate that her total testosterone level in serum has been below 10 nmol/L for
          at least 12 months prior to her first competition (with the requirement for any longer period to be based on
          a confidential case-by-case evaluation, considering whether or not 12 months is a sufficient length of time
          to minimize any advantage in women’s competition).

          2.3. The athlete's total testosterone level in serum must remain below 10nmol/L throughout the period of
          desired eligibility to compete in the female category.

          2.4. Compliance with these conditions may be monitored by testing. In the event of non-compliance, the
          athlete’s eligibility for female competition will be suspended for 12 months.

FOR ATHLETES
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Athletes with questions around their own playing eligibility you can start with Mike Keating, USA Rugby's Medical
Director (mkeating@usa.rugby). The Medical Committee will confidentially help athletes to clarify the policy and
answer additional questions around appropriate participation. When a more formal guidance is needed or when
another team has a question about a player they participated against, a process has been approved for appropriate
evaluation.

Any team with a question or challenge about a player's eligibility to participate, would submit a normal eligibility
challenge through their league administration. League administrators can work with the USA Rugby Membership
department (eligibility@usa.rugby) for challenges and guidance.

EVALUATION PROCESS
To initiate our process, an athlete asks to participate in an evaluation; or the athlete is referred to evaluation from
an opposing team's challenge.
Step 1: Athlete participates in informal, confidential interview with a medical committee representative. Upon
completion the athlete will either be released to play, or moves to step 2.
Step 2: Athlete participates in testing as designated. Upon completion of testing the athlete is either cleared to
play, or moves to step 3.
Step 3: Athlete is referred to transgender eligibility work group for clarification on length of stand down of play or
referral to appropriate playing opportunity.

FOR COACHES
Coaches with questions about an athlete or participation, you can refer to our policies above, but keep in mind it is
not your place to question an athlete who may or may not be transitioning. Coaches should be prepared to have
conversations with athletes and opposing teams around the subject of transitioning players as to not be surprised
on a day of competition. Below you can find some resources around this preparedness.

Resources Available for Coaches, Athletes and Administrators:

1. World Rugby Policy Response

2. Champions of Respect - NCAA Resource for inclusion practices

3. On the Team - Inclusion of Transgender Athlete

4. NCAA Inclusion of Transgender Athletes

5. Athlete Ally for Coaches

6. Shape America - Best Practices for PE Teachers and Coaches

United States Anti-Doping Agency (USADA)

1. Therapeutic Use Exemption (TUE) Guidelines

2. TUE Application

3. World Rugby Regulation 21 (Anti-Doping)
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General LGBTQ Resources

1. Human Rights Campaign Municipal Equality Index

2. Movement Advancement Project Equality Maps

Sports-Specific Websites

1. transathlete.com

2. athleteally.org

3. campusprideindex.org/sports/index

4. sportsinclusion.wix.com/sportsinclusion

LGBTQ General Websites

1. hrc.org

2. glsen.org

3. glaad.org

4. nclrights.org
